                         Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 1 of 34



                    1   JOSEPH W. COTCHETT (SBN 36324)
                        jcotchett@cpmlegal.com
                    2
                        TAMARAH P. PREVOST (SBN 313422)
                    3   tprevost@cpmlegal.com
                        ANDREW F. KIRTLEY (SBN 328023)
                    4   akirtley@cpmlegal.com
                        MELISSA MONTENEGRO (SBN 329099)
                    5   mmontenegro@cpmlegal.com
                        COTCHETT, PITRE & McCARTHY, LLP
                    6
                        San Francisco Airport Office Center
                    7   840 Malcolm Road, Suite 200
                        Burlingame, CA 94010
                    8   Telephone: (650) 697-6000
                        Facsimile: (650) 697-0577
                    9
                        Attorneys for Defendants
               10

               11

               12                                  UNITED STATES DISTRICT COURT
               13                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
               14
                                                             SAN JOSE DIVISION
               15

               16         NATIONAL ASSOCIATION FOR GUN                  Case No. 5:22-cv-00501-BLF
                          RIGHTS, INC., a non-profit corporation, and
               17         MARK SIKES, an individual,                    OPPOSITION TO PLAINTIFFS’
               18                                                       MOTION FOR PRELIMINARY
                                               Plaintiffs,              INJUNCTION
               19
                                 v.                                     Date:         July 21, 2022
               20                                                       Time:         9:00 AM
                          CITY OF SAN JOSE, a public entity,            Courtroom:    3 – 5th Floor
               21         JENNIFER MAGUIRE, in her official             Judge:        Hon. Beth Labson Freeman
               22         capacity as City Manager of the City of San
                          Jose, and the CITY OF SAN JOSE CITY           Complaint Filed: January 25, 2022
               23         COUNCIL,

               24                              Defendants.
               25

               26

               27

               28
       ♼
 LAW OFFICES
COTCHETT, PITRE &       OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;
 MCCARTHY, LLP          CASE NO. 5:22-CV-00501-BLF
                          Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 2 of 34



                    1                                                        TABLE OF CONTENTS
                    2                                                                                                                                                           Page
                    3   I.     INTRODUCTION ................................................................................................................. 1
                        II.    FACTUAL AND PROCEDURAL HISTORY ..................................................................... 1
                    4
                                  A.     The Ordinance ................................................................................................ 1
                    5             B.     Procedural History ......................................................................................... 3
                    6   III.   LEGAL STANDARD ............................................................................................................ 4
                        IV.    ARGUMENT ......................................................................................................................... 4
                    7
                                  A.     Plaintiffs’ Motion is Unripe and Not a Proper Facial Challenge. .................. 4
                    8             B.     Plaintiffs Are Not Entitled to Injunctive Relief ............................................. 6
                    9                   1. Plaintiffs Fail to Show a Likelihood of Success on the Merits.................................. 6
                                           a. Plaintiffs Are Not Likely to Succeed on their Second Amendment
               10                               Claim ................................................................................................................................. 6
               11                              i.       The Appropriate Level of Scrutiny is Intermediate Scrutiny…….. .. 7
                                               ii.      The Ordinance Easily Survives Intermediate Scrutiny……………9
               12                          b. Plaintiffs are not Likely to Succeed on the Merits of their First
                                                Amendment Asserting Compelled Speech or Association .............................. 14
               13
                                     c.        The Ordinance is Not Preempted Under State Law ..................................... 17
               14                    d.        Plaintiffs are Unlikely to Succeed in Proving the Ordinance is Unlawful
                                               Tax ............................................................................................................... 19
               15
                                           e. The Ordinance Does Not Violate the San Jose City Charter........................... 20
               16                                       i. The Charter Does Not Require Placing the Fee into the
                                                           General Fund………………………………………………………… 21
               17
                                            ii. The Fee Is Not Subject to the Charter’s Budgetary Procedures ………21
               18
                                            iii. The City Council Properly Delegated Regulatory Authority to the City
               19                                Manager ………………………………………………………………22
                                     2. Plaintiffs Have Not Established That They Will Suffer Irreparable Harm ........ 23
               20
                                     3. The Balance of Equities and Public Interest Favor Defendants ........................ 24
               21                 C.        The Court Should Deny Plaintiffs Request for Judicial Notice and Should
                                            Not Dispense with the Bond Requirement................................................... 25
               22
                        V.     CONCLUSION .................................................................................................................... 25
               23

               24

               25

               26

               27

               28
       ♼
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                                                                                  i
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
                          Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 3 of 34



                    1                                                    TABLE OF AUTHORITIES
                    2                                                                                                                                      Page(s)
                    3   Cases

                    4   1300 N. Curson Investors, LLC v. Drumea,
                           225 Cal.App.4th 325 (2014) .......................................................................................................21
                    5
                        Bauer v. Becerra,
                    6
                           858 F.3d 1216 (9th Cir. 2017) ......................................................................................8, 9, 12, 13
                    7
                        Birkenfeld v. City of Berkeley,
                    8       17 Cal.3d 129 (Cal. 1976) ...........................................................................................................22

                    9   Bishop v. City of San Jose,
                           1 Cal.3d 56 (1969) ..................................................................................................................2, 17
               10
                        Cal. Democratic Party v. Jones,
               11          530 U.S. 567 (2000) ....................................................................................................................16
               12
                        Calguns Foundation, Inc. v. City of San Mateo,
               13          218 Cal. App 4th 661 (2013) ......................................................................................................19

               14       Cal. Rifle & Pistol Assn. v. City of West Hollywood,
                           66 Cal.App.4th 1302 (1998) .......................................................................................................19
               15
                        Chandler v. State Farm Mut. Auto. Ins. Co.,
               16          598 F.3d 1115 (9th Cir. 2010) ................................................................................................4, 17
               17       City of Renton v. Playtime Theaters, Inc.,
               18           475 U.S. 41 (1986) ......................................................................................................................11

               19       City of San Jose v. Lynch,
                            4 Cal.2d 760 (1935) ....................................................................................................................21
               20
                        Cox v. New Hampshire,
               21          312 U.S. 569 (1941) ....................................................................................................................13
               22       Diaz v. Brewer,
                           656 F.3d 1008 (9th. Cir. 2011) ...................................................................................................25
               23

               24       DISH Network Corp. v. F.C.C.,
                           653 F.3d 771 (9th Cir. 2011) ......................................................................................................23
               25
                        District of Columbia v. Heller
               26          (2008) 554 U.S. 570 ............................................................................................................7, 8, 12
               27       Fiscal v. City and County of San Francisco,
                            158 Cal.App.4th 895 (2008) .................................................................................................18, 19
               28
       ♼
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                                                               ii
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
                          Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 4 of 34



                    1   Galvan v. Superior Court,
                           70 Cal.2d 851 (1969) ..................................................................................................................18
                    2
                        Garcia v. California Supreme Court,
                    3
                           2014 WL 309000 (N.D. Cal. Jan. 21, 2014) ...............................................................................25
                    4
                        Gonzales v. Carhart,
                    5      550 U.S. 124 (2007) ......................................................................................................................5

                    6   Great Western Shows, Inc. v. County of Los Angeles,
                           27 Cal.4th 853 (Cal. 2002) ..............................................................................................17, 18, 19
                    7
                        Heller v. District of Columbia,
                    8
                           670 F.3d 1244 (D.C. Cir. 2011) ....................................................................................................7
                    9
                        Heller v. District of Columbia,
               10          801 F.3d 264 (D.C. Cir. 2015) ......................................................................................................8

               11       Herb Reed Enters., LLC v. Fla. Entm’t Mgmt.,
                           736 F.3d 1239 (9th Cir. 2013) ....................................................................................................23
               12
                        Isaakhani v. Shadow Glen Homeowners Assn., Inc.,
               13           63 Cal.App.5th 917, 931-932 (2021) ..........................................................................................21
               14
                        Jackson v. City and County of San Francisco,
               15          746 F.3d 953 (9th Cir. 2014) .............................................................................................. passim

               16       Janus v. AFSCME, Council 31,
                           138 S. Ct. 2448 (2018) ..........................................................................................................14, 15
               17
                        Kachalsky v. County of Westchester,
               18          701 F.3d 81 (2d Cir. 2012)..........................................................................................................10
               19
                        Keller v. State Bar of California,
               20          496 U.S. 1 (1990) ........................................................................................................................15

               21       Khoja v. Orexigen Therapeutics, Inc.,
                           899 F.3d 988 (9th Cir. 2018) ......................................................................................................25
               22
                        Knox v. SEIU,
               23          567 U.S. 298 (2012) ....................................................................................................................15
               24       Kwong v. Bloomberg,
               25         723 F.3d 160 (2d Cir. 2013)................................................................................................8, 9, 12

               26       Lares v. West Bank One (In re Lares)
                           188 F.3d 1166 (9th Cir. 1999) ....................................................................................................21
               27
                        Laurent v. City and County of San Francisco,
               28          99 Cal.App.2d 707 (1950) ..........................................................................................................21
       ♼
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                                                              iii
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
                          Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 5 of 34



                    1   Lopez v. Brewer,
                           680 F.3d 1068 (9th Cir. 2012) ..................................................................................................4, 6
                    2
                        Los Angeles Unified Sch. Dist. v. Garcia,
                    3
                           58 Cal.4th 175 (2013) .................................................................................................................21
                    4
                        McDonald v. City of Chicago,
                    5     561 U.S. 742 (2010) ..............................................................................................................12, 24

                    6   Minneapolis Star and Tribune Co. v. Minnesota Comm’r of Rev.,
                           460 U.S. 575 (1983) ....................................................................................................................13
                    7
                        Murdock v. Pennsylvania,
                    8
                          319 U.S. 105 (1943) ....................................................................................................................13
                    9
                        Nat’l Park Hosp. Assn. v. Dep’t. of Interior,
               10          538 U.S. 803 (2003) ......................................................................................................................4

               11       Nintendo of Am., Inc. v. Lewis Galoob Toys, Inc.,
                           16 F.3d 1032 (9th Cir. 1994) ......................................................................................................25
               12
                        Nken v. Holder,
               13          556 U.S. 418 (2009) ....................................................................................................................24
               14
                        Nordyke v. King,
               15          681 F.3d 1041 (9th Cir. 2012) ................................................................................................6, 12

               16       O’Connell v. Gross,
                           No. CV 19-11654-FDS, 2020 WL 1821832 (D. Mass. Apr. 10, 2020) ..................................8, 13
               17
                        Olsen v McGillicuddy,
               18          15 Cal. App. 3d 897 (1971) ........................................................................................................19
               19
                        S. Cal. Edison Co. v. Pub. Util. Comm’n,
               20           227 Cal.App.4th 172 (2014) .......................................................................................................20

               21       Sacramento Chamber of Commerce v. Stephens,
                           212 Cal. 607 (1931) ....................................................................................................................22
               22
                        Santa Cruz Lesbian and Gay Cmty. Ctr. v. Trump,
               23          508 F.Supp.3d 521 (N.D. Cal. 2020) ..........................................................................................24
               24       Schmeer v. County of Los Angeles,
               25          213 Cal.App.4th 1310 (2013) ...............................................................................................19, 20

               26       Scholl v. Mnuchin,
                           489 F.Supp.3d 1008 (N.D. Cal. 2020) ....................................................................................4, 17
               27
                        Scott v. Pasadena Unified Sch. Dist.,
               28          306 F.3d 646 (9th Cir. 2002) ........................................................................................................5
       ♼
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                                                              iv
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
                          Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 6 of 34



                    1   Sherwin-Williams Co. v. City of Los Angeles,
                           4 Cal.4th 893 (1993) ...................................................................................................................17
                    2
                        Sierra Club v. United States Army Corps of Eng’rs,
                    3
                            990 F.Supp.2d 9 (D.C. Cir. 2013) .................................................................................................5
                    4
                        Stimmel v. Sessions,
                    5       879 F.3d 198 (6th Cir. 2018) ........................................................................................................9

                    6   Stormans, Inc. v. Selecky,
                            586 F.3d 1109 (9th Cir. 2009) ....................................................................................................24
                    7
                        ” Sunset Amusement Co. v. Bd. of Police Comm’rs,
                    8
                           7 Cal.3d 64 (1972) ......................................................................................................................17
                    9
                        Torcivia v. Suffolk Cty., New York,
               10          17 F.4th 342 (2d Cir. 2021) ..........................................................................................................9

               11       Turner Broad. Sys., Inc. v. FCC,
                           520 U.S. 180 (1997) ..........................................................................................................9, 10, 16
               12
                        U.S. v. Chester,
               13          628 F.3d 673 (4th Cir. 2010) ........................................................................................................8
               14
                        U.S. v. Gila Valley Irr. Dist.,
               15          31 F.3d 1428 (9th Cir. 1994) ........................................................................................................5

               16       United States v. Chovan,
                           735 F.3d 1127 (9th Cir. 2013) ..............................................................................................7, 8, 9
               17
                        United States v. Masciandaro,
               18          638 F.3d 458 (4th Cir. 2011) ......................................................................................................12
               19
                        Vieux v. Easy Bay Reg’l Park Dist.,
               20          906 F.3d 1330 (9th Cir. 1990) ................................................................................................4, 17

               21       Ward v. Rock Against Racism,
                          491 U.S. 781 (1989) ......................................................................................................................8
               22
                        Wash. State Grange v. Wash. State Republican Party,
               23         552 U.S. 442 (2008) ................................................................................................................6, 16
               24       Winter v. Natural Res. Def. Council, Inc.,
               25          555 U.S. 7 (2008) ................................................................................................................ passim

               26       Young v. Hawaii,
                           992 F.3d 765 (9th Cir. 2021) ....................................................................................................7, 9
               27
                        Statutes
               28
       ♼                Cal. Gov. Code § 53071 ..............................................................................................................18, 19
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                                                               v
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
                          Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 7 of 34



                    1   Cal. Pen. Code § 25605...............................................................................................................18, 19
                    2   Codes
                    3
                        SAN JOSE, CAL. MUNI CODE § 10.32.200(A) ......................................................................................2
                    4
                        Ordinances
                    5
                        § 10.32.200(B) ....................................................................................................................................2
                    6
                        § 10.32.200(B)(12), (11) .....................................................................................................................2
                    7
                        § 10.32.200(B)(13)..............................................................................................................................2
                    8
                        § 10.32.210(A), (C) .............................................................................................................................2
                    9
                        § 10.32.220(C) ..............................................................................................................................2, 21
               10

               11       § 10.32.240....................................................................................................................................3, 24

               12       § 10.32.255(A)-(C) .............................................................................................................................2

               13       § 10.32.215....................................................................................................................................3, 20

               14       § 10.32.200(B)(8)..............................................................................................................................11

               15       § 10.32.220........................................................................................................................................20
               16       § 10.32.220(A) ....................................................................................................................................3
               17       § 10.32.220(B) ..................................................................................................................................15
               18
                        § 10.32.225(B) ..................................................................................................................................18
               19
                        § 10.32.225(C) ......................................................................................................................11, 12, 13
               20
                        § 10.32.230(A), (B) .............................................................................................................................3
               21
                        § 10.32.235(A)(1)-(4) .........................................................................................................................4
               22
                        § 10.32.245..........................................................................................................................................3
               23
                        § 10.32.215........................................................................................................................................21
               24
                        § 10.32.305(B) ..................................................................................................................................21
               25

               26       Other Authorities

               27       U.S. Constitution First Amendment.......................................................................................... passim

               28       U.S. Constitution First and Second Amendments ..............................................................................1
       ♼
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                                                                      vi
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
                          Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 8 of 34



                    1   Cal. Const., Art. XIII C, § 1 ........................................................................................................19, 20
                    2   California Constitution Article XI, Section 5(a) ...............................................................................17
                    3
                        California Constitution Article XI, Section 7 ...................................................................................17
                    4
                        California Constitution Article XIII C ..............................................................................................19
                    5
                        Rules
                    6
                        Fed. R. Evid. 201(b)(1)-(2) ...............................................................................................................25
                    7
                        Federal Rules of Civil Procedure Rule 65(c) ....................................................................................25
                    8
                        Charters
                    9
                        San Jose City Charter §§ 300, 700 ....................................................................................................22
               10

               11       San Jose City Charter § 411 ..............................................................................................................23

               12       San Jose City Charter §§ 1204, 1206, 1207 ................................................................................21, 22

               13       San Jose City Charter § 1207 ............................................................................................................22

               14       San Jose City Charter § 1211 ............................................................................................................21

               15

               16

               17

               18

               19

               20

               21

               22

               23

               24

               25

               26

               27

               28
       ♼
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                                                            vii
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
                             Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 9 of 34



                    1   I.       INTRODUCTION
                    2            Plaintiffs seek the extraordinary remedy of enjoining the City of San Jose’s (“City” or “San
                    3   Jose”) Ordinance requiring resident gunowners to obtain liability insurance for accidental gun
                    4   injuries and pay an annual Gun Harm Reduction Fee (“Fee”) to a nonprofit organization. The Motion
                    5   fails for three key reasons. First, it is not ripe for review. Despite repeatedly blasting the Ordinance
                    6   for imposing costs on gunowners, Plaintiffs concede they do not know the cost of the required Fee,
                    7   probably because the City has not even set it yet. Plaintiffs similarly speculate about alleged “anti-
                    8   gun” biases of the non-profit in the Ordinance, but that organization has not yet been designated. In
                    9   short, the Motion is premised on the kind of contingent future events and hypotheticals that make it
               10       unripe for review under Ninth Circuit law.
               11                Second, the Motion fails to demonstrate any likelihood Plaintiffs’ claims will succeed on
               12       their merits. In scattershot fashion, Plaintiffs attack the ordinance on no fewer than six grounds,
               13       contending it violates the First and Second Amendments to the U.S. Constitution, the California
               14       Constitution, and the City’s own Charter. But these arguments collapse under scrutiny. Looking past
               15       the rhetoric and hyperbole, one is left with very little legal analysis and even Plaintiffs’ authority
               16       often does not support their positions.
               17                Finally, Plaintiffs’ argument the Ordinance will cause “imminent irreparable harm” if
               18       effectuated essentially asks this Court to take Plaintiffs’ word for it, with virtually no evidentiary
               19       support, aside from a handful of general news articles. This comes nowhere what Plaintiffs needed
               20       to submit to carry their heavy evidentiary burden.
               21                The Ordinance is perfectly lawful. It is a legitimate exercise of the City’s police power to
               22       craft regulations in its reasonable judgment, and to improve the health, safety, and security of all
               23       City residents, including gunowners. Plaintiffs’ Motion should be denied.
               24       II.      FACTUAL AND PROCEDURAL HISTORY
               25                A.     The Ordinance
               26                Plaintiffs mischaracterize or misunderstand key aspects of the Ordinance, the purpose of
               27       which is to “reduce gun harm” “for the protection of the welfare, peace, and comfort of the
               28
       ♼
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                         1
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
                            Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 10 of 34



                    1   residents of the City of San Jose.” See SAN JOSE, CAL. MUNI. CODE § 10.32.200(A).1 Based on
                    2   extensive and well-supported empirical evidence regarding the significant extent and toll of
                    3   firearm injuries and deaths in the United States, California, Santa Clara County, and the City itself,
                    4   the Ordinance seeks to address “[i]njuries from unintentional shootings, which are generally
                    5   insurable,” as well as the enormous societal costs ($442 million per year) borne by the City and its
                    6   residents from accidental shootings and other forms of gun violence. § 10.32.200(B). The
                    7   Ordinance applies to all City residents who own a gun except peace officers, those with a state
                    8   concealed weapon license, and—critically—those for whom compliance with the Ordinance would
                    9   cause “financial hardship.” § 10.32.255(A)-(C).
               10                 The Ordinance has three key requirements. First, gunowners must obtain liability insurance
               11       covering loss or damage resulting from the accidental use of their firearm no later than September
               12       7, 2022, or 30 days after the Ordinance takes effect. § 10.32.210(A), (C). The insurance mandate is
               13       intended to reduce accidental shootings and other forms of gun violence, and ensure some degree of
               14       compensation when tragedy strikes. See § 10.32.220(C). In its reasonable judgment, the San Jose
               15       City Council (“Council”) determined that requiring gunowners to obtain “[l]iability insurance can
               16       reduce the number of gun incidents by encouraging safer behavior and it can also provide coverage
               17       for losses and damages related to gun incidents.” § 10.32.200(B)(12), (11) (noting the success of
               18       risk-based liability insurance mandates in the automobile context, which have helped reduce auto
               19       fatalities by 80% across the United States by financially incentivizing safety and good driving).
               20                 Second, gunowners must pay an annual Fee to make available voluntary services to
               21       gunowner residents, their household or family members, or those in an intimate relationship with
               22       them, based on the Council’s reasonable judgment that providing gun-related “education and
               23       resources to [City] residents” and “[p]rograms and services to gun owners and their households can
               24       [] encourage safer behavior.” § 10.32.200(B)(13). These programs and services will be provided by
               25       a nonprofit yet to be designated by the City Manager, and they will focus on the areas of suicide
               26

               27       1
                            “§” refers to sections of the Ordinance, a copy of which is attached as Exhibit H to Plaintiffs’
               28
       ♼                Request for Judicial Notice in support of their Motion. ECF 25-2.
 LAW OFFICES
COTCHETT, PITRE &           OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                       2
 MCCARTHY, LLP
                            CASE NO. 5:22-CV-00501-BLF
                         Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 11 of 34



                    1   prevention, reduction of violence and gender-based violence, addiction and substance abuse, mental
                    2   health services related to gun violence, and firearms safety education or training. §§ 10.32.215,
                    3   10.32.220(A). While the City may not “specifically direct” how the nonprofit spends “monies from
                    4   the [Fee],” the Ordinance is clear that “[n]o portion of the monies … shall be used for litigation,
                    5   political advocacy, or lobbying activities.” Id. at subdiv. (B), (C).
                    6          Third, the Ordinance requires gunowners to document their compliance by keeping near
                    7   where their gun is stored or transported a City-issued form attesting that the gunowner has the
                    8   required insurance and a receipt showing they have paid the Fee, and to produce these documents to
                    9   a police officer upon lawful request. § 10.32.230(A), (B). Violations of the Ordinance are punishable
               10       by an administrative citation, subject to due process protections. § 10.32.240. Contrary to Plaintiffs’
               11       assertions that the Ordinance allows the City to “seize” firearms of gunowners who are caught
               12       violating the Ordinance (see Mot. at 4, 6, 22), the Ordinance only allows for the “impoundment” of
               13       firearms and only “to the extent allowed by law.” § 10.32.245. There is currently no lawful basis for
               14       impoundment of firearms under state or federal law, meaning this provision will not take effect until,
               15       for example, the passage of state law permitting municipalities to impound firearms. The Ordinance
               16       also contains a severability clause. § 3.
               17              B.      Procedural History
               18              On June 29, 2021, the Council directed the City Attorney to return with a draft gun safety
               19       ordinance designed to mitigate gun harms for Council’s consideration. Prevost Decl. ¶ 4, Ex. 1. On
               20       January 25, 2022, the Council heard a first reading of the draft ordinance, voted to publish the draft
               21       ordinance and to consider it at a later date, and directed that amendments be drafted. Id. ¶ 5, Ex. 2.
               22       That same day, Plaintiffs initiated this lawsuit seeking to invalidate the Ordinance, even though it
               23       was still in “draft” form and not yet adopted. ECF 1. Defendants moved to dismiss the Complaint
               24       for lack of jurisdiction but the matter would never be heard. ECF 17.
               25              On February 8, 2022, the City enacted a version of the Ordinance into law, delegating various
               26       elements to the City Manager to promulgate before the Ordinance’s effective date of August 7, 2022.
               27       § 2. These elements requiring future rulemaking include: 1) processes, procedures, and forms related
               28       to the implementation of the liability insurance requirement; 2) designation of the nonprofit
       ♼
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                        3
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
                            Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 12 of 34



                    1   organization that will receive the Fee; 3) designation of any third-party agency or organization to
                    2   aid in noticing the Ordinance’s requirements; and 4) the criteria for the Ordinance’s “financial
                    3   hardship” exemption. § 10.32.235(A)(1)-(4).
                    4             On February 14, 2022, Plaintiffs filed their First Amended Complaint (“FAC”). ECF 19.
                    5   Three weeks later, Plaintiffs filed the instant Motion asking this Court to preliminarily enjoin the
                    6   Ordinance before it takes effect, for reasons identical to those raised in the FAC. ECF 25.
                    7   III.      LEGAL STANDARD
                    8             To obtain a preliminary injunction, a plaintiff must establish “that he is likely to succeed on
                    9   the merits, that he is likely to suffer irreparable harm in the absence of preliminary relief, that the
               10       balance of equities tips in his favor, and that an injunction is in the public interest.” Winter v. Natural
               11       Res. Def. Council, Inc., 555 U.S. 7, 20 (2008) (“Winter”). An injunction is “an extraordinary remedy
               12       that may only be awarded upon a clear showing that the plaintiff is entitled to such relief.” Id. at 22;
               13       see also Lopez v. Brewer, 680 F.3d 1068, 1072 (9th Cir. 2012) (preliminary injunction is an
               14       “extraordinary and drastic remedy, one that should not be granted unless the movant, by a clear
               15       showing, carries the burden of persuasion”).
               16       IV.       ARGUMENT
               17                 A.      Plaintiffs’ Motion is Unripe and Not a Proper Facial Challenge.
               18                 The Ordinance is not effective until August 7, 2022. § 2. Even before reaching the merits of
               19       Plaintiffs’ motion, when seeking a preliminary injunction, a plaintiff’s claim must be “ripe” for
               20       review. Scholl v. Mnuchin, 489 F.Supp.3d 1008, 1024-27 (N.D. Cal. 2020).2 Courts do not have
               21       jurisdiction to render advisory opinions regarding what the law may be, based on a “hypothetical
               22       state of facts.” Vieux v. Easy Bay Reg’l Park Dist., 906 F.3d 1330, 1344 (9th Cir. 1990). “The central
               23       concern of the ripeness inquiry is whether the case involves uncertain or contingent future events
               24       that may not occur as anticipated, or indeed may not occur at all.” Chandler v. State Farm Mut. Auto.
               25       Ins. Co., 598 F.3d 1115, 1122-23 (9th Cir. 2010). And an issue “may not be ripe for review if further
               26       factual development would significantly advance [the court’s] ability to deal with the legal issues
               27       presented.” Nat’l Park Hosp. Assn. v. Dep’t. of Interior, 538 U.S. 803, 812 (2003).
               28       2
       ♼
                            Unless otherwise noted, internal citations, alterations, and quotations are generally omitted herein.
 LAW OFFICES
COTCHETT, PITRE &           OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                         4
 MCCARTHY, LLP
                            CASE NO. 5:22-CV-00501-BLF
                         Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 13 of 34



                    1          “The prudential considerations of ripeness are amplified when constitutional considerations
                    2   are concerned.” Scott v. Pasadena Unified Sch. Dist., 306 F.3d 646, 662 (9th Cir. 2002) (“Scott”).
                    3   Indeed, “[t]he Supreme Court has neatly instructed that the jurisdiction of federal courts to hear
                    4   constitutional challenges should be exercised only when the underlying constitutional issues [are
                    5   tendered] in clean-cut and concrete form.” Id. (quoting Rescue Army v. Mun. Ct. of Los Angeles, 332
                    6   U.S. 549, 584 (1947)). In Scott, for example, the Ninth Circuit determined that an equal protection
                    7   challenge to an admissions policy was not ripe because it lacked a “basis to infer” how the policy’s
                    8   criteria was to be implemented. 306 F.3d at 663. And “[w]ithout knowing the conditions under which
                    9   the policy was to be implemented, no court can make a true determine as to whether the policy”
               10       passes constitutional muster. Id.
               11              Here, for example, although Plaintiffs do not know how the not-yet-designated nonprofit will
               12       expend the funds generated by the Fee, they speculate it will do so in an unlawful way, including by
               13       violating the First Amendment to the U.S. Constitution. But speculation as to how a policy will be
               14       carried out or enforced does not create a claim over which a court may exercise jurisdiction. See,
               15       e.g., U.S. v. Gila Valley Irr. Dist., 31 F.3d 1428, 1436 (9th Cir. 1994) (claims not ripe where plaintiff
               16       advances “mere speculation” as to what regulatory decision will be); Sierra Club v. United States
               17       Army Corps of Eng’rs, 990 F.Supp.2d 9, 31-32 (D.C. Cir. 2013) (grounds for preliminary injunction
               18       are not ripe where the complained-of conduct “has not yet occurred and is still in the process of
               19       being addressed”).
               20              In addition to not being ripe for review, Plaintiffs’ facial challenge to the Ordinance should
               21       be rejected for other reasons. Similar to the foregoing, courts may not “resolve questions of
               22       constitutionality with respect to each potential situation that might develop” in litigation, especially
               23       when the moving party does not demonstrate that the law “would be unconstitutional in a large
               24       fraction of relevant cases.” Gonzales v. Carhart, 550 U.S. 124, 167-68 (2007). Second, facial
               25       challenges “often rest on speculation.” Jackson v. City and County of San Francisco, 746 F.3d 953,
               26       962 (9th Cir. 2014) (“Jackson”) (citing Wash. State Grange v. Wash. State Republican Party, 552
               27       U.S. 442, 450 (2008)). As such, “they raise the risk of premature interpretations of statutes on the
               28       basis of factually barebones records,” and “threaten to short circuit the democratic process by
       ♼
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                          5
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
                         Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 14 of 34



                    1   preventing laws embodying the will of the people from being implemented in a manner inconsistent
                    2   with the Constitution.” Wash. State Grange, 552 U.S at 450-51. To be successful, a facial challenge
                    3   must show that “no set of circumstances exists under which the [law] would be valid, i.e., that the
                    4   law is unconstitutional in all of its applications,” or at least that it lacks a “plainly legitimate sweep.”
                    5   Id. at 449.
                    6           Plaintiffs proffer no evidence that the Fee would be unconstitutional in a “large fraction” of
                    7   cases, especially since the amount of the Fee has not even been determined yet. Because the
                    8   Ordinance furthers the City’s legitimate efforts to reduce the harm caused by gun-related accidents
                    9   and imposes only de minimus or marginal burdens on the constitutional right to obtain a keep a
               10       firearm in the home for self-defense, its sweep is legitimate. Cf. Nordyke v. King, 681 F.3d 1041,
               11       1044 (9th Cir. 2012) (en banc), cert. denied, 133 S. Ct. 840 (2013) (rejecting facial challenge to
               12       ordinance that regulated gun shows “only minimally and only on county property,” without even
               13       requiring empirical support justifying the regulation). Plaintiffs’ premature Motion should be denied
               14       for these reasons alone.
               15               B.      Plaintiffs Are Not Entitled to Injunctive Relief
               16               To obtain “the extraordinary and drastic remedy” of a preliminary injunction, Plaintiffs must
               17       show they meet all four elements of the Winter preliminary injunction test. Lopez, 680 F.3d at 1072
               18       (“[a] preliminary injunction is an extraordinary and drastic remedy”). Plaintiffs fall far short of
               19       carrying their burden. Even if the Court were to find that Plaintiffs presented serious questions going
               20       to the merits, the balance of hardships and public interest tip sharply in the City’s favor.
               21                       1.      Plaintiffs Fail to Show a Likelihood of Success on the Merits
               22               Plaintiffs challenge the Ordinance on six different grounds, arguing “[t]here is a strong
               23       likelihood” they will prevail on the merits. Mot. at 9. As set forth below, however, this is premised
               24       on either Plaintiffs’ misunderstanding of the Ordinance, or their misapplication of the law.
               25                            j. Plaintiffs Are Not Likely to Succeed on their Second Amendment Claim
               26               Plaintiffs contend the Ordinance impermissibly burdens the Second Amendment rights of
               27       City residents to whom the Ordinance applies. Mot. at 13-15. The Ninth Circuit adjudicates Second
               28       Amendment challenges using a two-step test, which “(1) asks whether the challenged law burdens
       ♼
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                             6
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
                         Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 15 of 34



                    1   conduct protected by the Second Amendment and (2) if so, directs courts to apply an appropriate
                    2   level of scrutiny.” United States v. Chovan, 735 F.3d 1127, 1136 (9th Cir. 2013). For purposes of
                    3   opposing the Motion, Defendants concede that the Ordinance imposes some minimal or slight
                    4   burden, and so proceed to the second step of the test. See e.g., Heller, 554 U.S. at 625; Jackson, 746
                    5   F.3d at 959.
                    6                          i. The Appropriate Level of Scrutiny is Intermediate Scrutiny
                    7          To determine the appropriate level of scrutiny, Courts look to two factors. Courts first assess
                    8   how close the law comes to the core of the Second Amendment right, which is the right to keep
                    9   firearms in the home for purposes of self-defense. Heller, 554 U.S. at 629; Jackson, 746 F.3d at 963.
               10       Unless the challenged law both affects that core right and places a “substantial burden” on it, Courts
               11       generally apply intermediate scrutiny. Chovan, 735 F.3d. at 1138-39; see also Heller v. District of
               12       Columbia, 670 F.3d 1244, 1257 (D.C. Cir. 2011) (“Heller II”) (“[A] regulation that imposes a
               13       substantial burden upon the core right of self-defense protected by the Second Amendment must
               14       have a strong justification, whereas a regulation that imposes a less substantial burden should be
               15       proportionately easier to justify.”). Here, intermediate scrutiny applies because the Ordinance does
               16       not “impos[e] restrictions on the use of handguns within the home” or otherwise imposes anything
               17       even close to a substantial burden on the core Second Amendment right of keeping firearms in the
               18       home for self-defense. Jackson, 746 F.3d at 963. It merely requires residents who own guns to obtain
               19       liability insurance for accidental gun injuries and to pay a reasonable fee to reduce well established
               20       harms that result from guns being lawfully kept and to provide a mechanism for compensation when
               21       accidental gun injuries occur.
               22              The second factor of the scrutiny evaluation requires the Court to assess the “severity of the
               23       law’s burden” on the Second Amendment right. Jackson, 746 F.3d at 963; see also Young v. Hawaii,
               24       992 F.3d 765, 784 (9th Cir. 2021) (“A law that implicates the core of the Second Amendment right
               25       and severely burdens that right receives strict scrutiny; and in other cases in which Second
               26       Amendment rights are affected in some lesser way, we apply intermediate scrutiny.”) Laws that
               27       regulate only the “manner in which persons may exercise their Second Amendment rights” are
               28       obviously less burdensome than those which ban firearm possession completely. Jackson, 746 F.3d
       ♼
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                       7
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
                         Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 16 of 34



                    1   at 961 (citing Chovan, 735 F.3d at 1138). Similarly, “firearm regulations which leave open
                    2   alternative channels for self-defense are less likely to place a severe burden on the Second
                    3   Amendment right than those which do not. Jackson, 746 F.3d at 961; see also Ward v. Rock Against
                    4   Racism, 491 U.S. 781, 791 (1989) (noting that laws placing “reasonable restrictions on the time,
                    5   place, or manner of protected speech” and that “leave open alternative channels” for communication
                    6   pose less burden to a First Amendment right and are reviewed under intermediate scrutiny). Here,
                    7   the severity of the law’s burden is minimal, as it neither regulates the use of firearms, how or where
                    8   they are stored, or any other factors that directly affect residents’ ability to keep and bear arms for
                    9   self-defense. Heller, 554 U.S. at 629. Instead, it merely requires that they get insurance and pay a
               10       reasonable annual Fee. The Ordinance neither seeks to ban guns, nor does it threaten their seizure.
               11              Plaintiffs vaguely contend that the City’s “imposition of costs” and the mere “threat [of]
               12       impoundment” somehow mandate the application of strict scrutiny based on three cases, none of
               13       which support Plaintiffs’ position or even apply strict scrutiny. Mot. at 10-12, 14; see District of
               14       Columbia v. Heller (2008) 554 U.S. 570, 629 (holding only that rational basis does not apply);
               15       Chovan, 735 F.3d at 1138 (applying intermediate scrutiny); U.S. v. Chester, 628 F.3d 673, 682 (4th
               16       Cir. 2010) (applying intermediate scrutiny after rejecting plaintiff’s argument to apply strict scrutiny
               17       as “too broad” because “[w]e do not apply strict scrutiny whenever a law impinges upon a right
               18       specifically enumerated in the Bill of Rights”). Plaintiffs’ threadbare argument for strict scrutiny
               19       also ignores that the Ninth Circuit (in line with the other Circuits) has long applied intermediate
               20       scrutiny to uphold laws similar to the Ordinance at issue here. See, e.g., Bauer v. Becerra, 858 F.3d
               21       1216 (9th Cir. 2017) (upholding DOJ’s use of gun sale fee for enforcement efforts targeting illegal
               22       firearm possession after point of sale under intermediate scrutiny); Heller v. District of Columbia,
               23       801 F.3d 264, 278 (D.C. Cir. 2015) (“Heller III”) (upholding $48 in gun licensing fees under
               24       intermediate scrutiny); Kwong v. Bloomberg, 723 F.3d 160, 161, 167 (2d Cir. 2013), cert. denied,
               25       134 S. Ct. 2696 (2014) (upholding $340 gun licensing fee under intermediate scrutiny); O’Connell
               26       v. Gross, No. CV 19-11654-FDS, 2020 WL 1821832 (D. Mass. Apr. 10, 2020) (upholding law
               27       requiring mandatory safety courses and $300 in fees under intermediate scrutiny). Plaintiffs’
               28
       ♼
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                         8
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
                         Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 17 of 34



                    1   argument is directly contrary to binding law. And Plaintiffs’ hypothesis the City “could” increase
                    2   the Fee in the future does not support their attack on the Ordinance, now. Mot at 12.
                    3          In the Ninth Circuit, “if a challenged law does not implicate a core Second Amendment right,
                    4   or does not place a substantial burden on the Second Amendment right,” the Court should apply
                    5   intermediate scrutiny. Jackson, 746 F.3d at 961; accord Young v. Hawaii, 992 F.3d 765, 784 Based
                    6   on this binding law, intermediate scrutiny is appropriately applied.
                    7                         ii. The Ordinance Easily Survives Intermediate Scrutiny
                    8          To withstand intermediate scrutiny, the City need only show (1) that their stated objective is
                    9   significant, substantial, or important; and (2) a reasonable fit between the Ordinance and that
               10       objective. Chovan, 735 F.3d at 1139.
               11              First, the City’s objective of promoting public safety and addressing gun injuries is an
               12       “important” government interest, as the Plaintiffs concede. Mot, at 13, Chovan, 735 F.3d at 1139;
               13       see also Fyock, 779 F.3d at 1000 (it is “self-evident” that government’s interest in promoting public
               14       safety and reducing violent crime are substantial and important government interests”); Stimmel v.
               15       Sessions, 879 F.3d 198, 201 (6th Cir. 2018) (referring to “government’s compelling interest of
               16       preventing gun violence”); Torcivia v. Suffolk Cty., New York, 17 F.4th 342, 359 (2d Cir. 2021)
               17       (finding a “substantial governmental interest in preventing suicide and domestic violence”). The
               18       Ordinance’s other stated purpose of reducing the social and financial costs caused by guns is also an
               19       important interest. See, e.g., Bauer, 858 F.3d at 1226; Kwong, 723 F.3d at 168 (city permitted to
               20       recover costs as part of scheme “designed to promote public safety and prevent gun violence”). Thus,
               21       the Ordinance clearly meets the first prong under intermediate scrutiny.
               22              Second, there is a reasonable fit between the challenged regulation and the City’s objective.
               23       See Chovan, 735 F.3d at 1139. When assessing the reasonableness of fit under immediate scrutiny,
               24       courts must give “substantial deference to the predictive judgments” of the legislature on public
               25       policy questions that fall outside the courts’ competence. Turner Broad. Sys., Inc. v. FCC, 520 U.S.
               26       180, 195 (1997) (“Turner II”). This is because “the legislature is far better equipped than the
               27       judiciary to make sensitive public policy judgments (within constitutional limits)” on complex
               28       empirical questions like “the dangers in carrying firearms and the manner to combat those risks.”
       ♼
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                      9
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
                         Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 18 of 34



                    1   Kachalsky v. County of Westchester, 701 F.3d 81, 97 (2d Cir. 2012) (quoting Turner Broad. Sys.,
                    2   Inc. v. FCC, 512 U.S. 622, 665 (1994) (“Turner I”)). This Court’s “sole obligation” is simply “to
                    3   assure that, in formulating its judgments, [the legislature] has drawn reasonable inferences based on
                    4   substantial evidence.” Turner II, 520 U.S. at 181. That standard is easily met here.
                    5          Ignoring that the City’s reasonable legislative judgments are entitled to deference, Plaintiffs
                    6   argue the Ordinance does not sufficiently “fit” the Ordinance’s stated aims of reducing gun injuries
                    7   and reducing and offsetting some of the enormous social costs of gun injuries and violence in the
                    8   City, for multiple reasons. See Mot. at 13, 14. Among other things, Plaintiffs criticize the
                    9   Ordinance’s reference to a November 2021 study by the Pacific Institute on Research and Evaluation
               10       (PIRE), a nonprofit organization headed by health economist Ted Miller, Ph.D. See Prevost Decl. ¶
               11       6, Ex. 3 (PIRE Report). Plaintiffs argue the City was wrong to rely on the PIRE study because it
               12       calculates costs of gun violence incurred by the City’s police, fire, and courts—costs that the
               13       insurance mandate and Fee will not reimburse. Mot. at 14. But simply because “primary costs” of
               14       gun violence are associated with City response costs does not detract from the City’s lawful goal
               15       (and authority) to prevent and reduce gun injuries and associated costs for the City and its residents
               16       in the first instance, with the goal of saving the City and its residents from ever incurring the related
               17       costs. That the Ordinance does not also seek to recover police or other response costs does not
               18       somehow invalidate it. And in any event, the PIRE study does include findings related to suicide and
               19       self-inflicted harm, which the Ordinance seeks to address. Prevost Decl. ¶ 6, Ex. 3.
               20              Moreover, the PIRE study is but one of many other studies and findings the City relied on to
               21       form its reasonable judgment that an insurance mandate will deter, prevent, or reduce accidental gun
               22       harm. See e.g., Prevost Decl., ¶ 7, Ex. 4 (The New England Journal of Medicine, “Handgun
               23       Ownership and Suicide in California”); id., ¶ 8, Ex. 5 (The Educational Fund to Stop Gun Violence,
               24       “Unintentional Shootings”). The City also evaluated and reviewed materials concerning the civil
               25       liability and financial harm arising from gun violence. See Id., ¶ 9, Ex. 6 (Hartford Courant, “Sandy
               26       Hook Families Settle Lawsuits Against Lanza Estate for $1.5M”); Id., ¶ 10, Ex. 7 (Gilman &
               27       Bedigian, LLC, “Man who shot intruder in his home sued for wrongful death”). The Ordinance is
               28       also based on the City’s reasonable judgment that requiring gun liability insurance might be effective
       ♼
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                         10
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
                         Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 19 of 34



                    1   in reducing harm, since this has occurred over a long period of time in the context of automobile
                    2   liability insurance, Id., ¶ 11, Ex. 8 (an additional compendium of materials provided to San Jose City
                    3   Council for review in advance of January 25, 2022 City Council meeting). See § 10.32.200(B)(8)
                    4   (noting “risk-adjusted premiums used by the automobile insurance industry reduced per-mail auto
                    5   fatalities by 80% over the past five decades and saved 3.5 million lives”).
                    6          This multitude of studies support the City’s view that the Ordinance’s insurance mandate,
                    7   annual Fee requirement, and related education programming and services will positively improve
                    8   public health, safety, and well-being. Indeed, unintentional harm caused by firearms is a serious
                    9   problem, and precisely the kind of harm a city must be allowed “a reasonable opportunity to
               10       experiment with solutions to admittedly serious problems.” Jackson, 746 F.3d at 966 (citing City of
               11       Renton v. Playtime Theaters, Inc., 475 U.S. 41, 52 (1986)). The Ordinance findings and legislative
               12       record more than sufficiently support the reasonableness of the fit between City’s important interests
               13       in reducing gun violence and the Ordinance’s programs and requirements. See City of Renton, 475
               14       U.S. at 51-52; Jackson, 746 F.3d at 969. Additionally, Plaintiffs are well-aware that the Mayor has
               15       publicly proposed a mere $25 fee (in a Memo provided for Council’s review) (Prevost Decl. ¶ 12,
               16       Ex. 9), which is reflected in articles appended to Plaintiffs’ Motion. Yet Plaintiffs never explain—
               17       or cite any authority supporting—why a $25 fee would impose so great a burden as to be
               18       unconstitutional. Nor do Plaintiffs ever address the Ordinance’s “financial hardship” exemption,
               19       which seeks to further alleviate any burden on anyone for whom a $25 would be cost-prohibitive. §
               20       10.32.225(C).
               21              Ultimately, Plaintiffs’ perspective of the requisite “fit” between the Ordinance and the City’s
               22       important interest is far too limited, ignores key evidence and key provisions of the Ordinance, and
               23       ignores the deference due to a municipality’s reasonable legislative judgments. See City of Renton,
               24       475 U.S. at 51–52 (municipality may rely on any evidence “reasonably believed to be relevant” to
               25       substantiate its important interest in regulating speech); Jackson, 746 F.3d at 969 (finding San
               26       Francisco’s evidence more than “fairly supports” its conclusion that hollow point bullets are lethal).
               27              Tellingly, Plaintiffs’ Second Amendment argument cites Second Amendment case law for
               28       general propositions only, eschewing any analogizing between the laws at issue in those cases and
       ♼
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                      11
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
                         Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 20 of 34



                    1   the one at issue here. And for good reason, since they point no case where a court struck down a law
                    2   even remotely similar to the one at issue. For example, Plaintiffs’ cited cases in which gun laws were
                    3   struck down as unconstitutional are of little help to Plaintiffs, because they concerned “handgun
                    4   bans” that burdened Second Amendment rights in a far different and more severe way than the
                    5   Ordinance here. See McDonald v. City of Chicago, 561 U.S. 742, 750, 792 (2010) (striking down
                    6   Chicago ordinance “effectively banning handgun possession by almost all private citizens,”
                    7   including in the home for self-defense); District of Columbia v. Heller, 554 U.S. 570, 635 (2008)
                    8   (striking down District of Columbia’s “ban on handgun possession in the home” and rules requiring
                    9   other firearms be stored in a way that made them useless “for the purpose of immediate self-
               10       defense”). Plaintiffs cite other Second Amendment cases for general propositions of law, but they
               11       are similarly inapposite. See, e.g., Nordyke v. King, 681 F.3d 1041, 1044-45 (9th Cir. 2012) (en banc)
               12       (upholding constitutionality of ordinance regulating display of guns at gun shows “no matter what
               13       form of scrutiny applies”); United States v. Masciandaro, 638 F.3d 458, 459-60 (4th Cir. 2011)
               14       (upholding constitutionality of federal law prohibiting carrying or possessing a loaded handgun in a
               15       motor vehicle in a national park area).
               16              Of all the Second Amendment decisions Plaintiffs cite, only two are factually analogous, and
               17       both resulted in the constitutionality of the gun laws at issue being upheld for reasons that are equally
               18       applicable here. See Bauer, 858 F.3d 1216 (upholding California law requiring payment of $19 fee
               19       on every firearm sale conducted in the state because of the “minimal nature of the burden” and
               20       plaintiff’s failure to show the fee “has any impact on [his] actual ability to obtain and possess a
               21       firearm”); Kwong, 723 F.3d at 161, 167 (upholding mandatory $340 three-year gun license fee
               22       because it imposed merely a “marginal, incremental, or [] appreciable [but not substantial] restraint”
               23       on Second Amendment rights, “especially considering that plaintiffs [] put forth no evidence … that
               24       the fee is prohibitively expensive”). Like the plaintiffs in Bauer and Kwong, Plaintiffs here proffer
               25       no evidence on the cost of the liability insurance or annual fee requirements, much less that the cost
               26       would be prohibitively expensive—or, even if it were prohibitively expensive for some number of
               27       San Jose residents on an as-applied basis, that the Ordinance’s “financial hardship” exception under
               28       Section 10.32.225(C) fails to fully address this concern. See Mot. at 12:20 (only one vague, passing
       ♼
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                         12
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
                         Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 21 of 34



                    1   reference to the Ordinance’s “economic hardship” exception in the entire Motion); see also
                    2   O'Connell v. Gross, 2020 WL 1821832, at *8-9 (D. Mass. Apr. 10, 2020) (upholding
                    3   constitutionality of law requiring mandatory gun safety and training courses and licensing fees
                    4   totaling $300, in part, because law “enhance[d] public safety by ensuring that gun owners do not
                    5   endanger themselves or others with unsafe practices”).
                    6          In the absence of any Second Amendment jurisprudence helpful to their cause, Plaintiffs rely
                    7   on three decades-old First Amendment fee cases (Mot. at 10, 14), all of which are readily
                    8   distinguishable. See Minneapolis Star and Tribune Co. v. Minnesota Comm’r of Rev., 460 U.S. 575,
                    9   591-92 (1983) (newspaper ink and paper tax held unconstitutional not just because it singles out the
               10       press, but because it was “tailor[ed]” so that “a small group” of newspapers were required to pay
               11       enormous taxes, whereas all other newspapers paid no or only nominal tax); Murdock v.
               12       Pennsylvania, 319 U.S. 105, 113-14 (1943) (striking down licensing fee that was “not a nominal fee
               13       imposed as a regulatory measure to defray the expenses of policing the activities in question”); Cox
               14       v. New Hampshire, 312 U.S. 569, 577 (1941) (holding that fee imposed on exercise of a
               15       constitutional right must address either “the expense incident to the administration of the act” or “the
               16       maintenance of public order in the matter licensed,” and not be a general “revenue tax”). Indeed, in
               17       Bauer, the Ninth Circuit rejected the same argument Plaintiffs make here. See Bauer, 858 F.3d at
               18       1225 (upholding constitutionality of California law imposing $19 fee on all gun sales under Murdock
               19       and Cox, which establish “that a state may ... impose a permit fee that is reasonably related to
               20       legitimate content-neutral considerations . . . as long as the ordinance or other underlying law is itself
               21       constitutional”). Here, as in Bauer, the Ordinance is constitutional under Murdock and Cox because
               22       the Ordinance’s liability insurance and annual Fee requirements are carefully tailored to ensure they
               23       are not a general revenue tax, directly further the maintenance of public order in the matter regulated,
               24       and are even subject to a “financial hardship” exception. § 10.32.225(C).
               25              Plaintiffs’ final, last-ditch argument is that the Court should disregard binding Ninth Circuit
               26       law and instead side with an approach suggested by an out-of-circuit dissenting opinion—i.e.,
               27       abandon the heightened scrutiny framework altogether, and instead strike down the Ordinance
               28       simply because it burdens the Second Amendment at all. See Mot. at 15 (citing Heller v. District of
       ♼
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                          13
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
                         Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 22 of 34



                    1   Columbia, 670 F.3d 1244, 1273 (D.C. Cir. 2011 (Kavanaugh, J., dissenting). This argument is
                    2   directly contrary to binding Ninth Circuit precedent. See Jackson, 746 F.3d at 969. Even if the
                    3   Ordinance could have been less restrictive (though Plaintiffs do not posit how), “intermediate
                    4   scrutiny does not require the least restrictive means of furthering a given end.” Id.
                    5          In sum, intermediate scrutiny applies, and the Ordinance clearly survives. Plaintiffs will not
                    6   prevail on the merits of their Second Amendment claim.
                    7                      k. Plaintiffs are not Likely to Succeed on the Merits of their First
                                              Amendment Asserting Compelled Speech or Association
                    8

                    9          Plaintiffs’ First Amendment argument for a preliminary injunction is based on Plaintiffs’
               10       speculation as to how a yet-to-be-designated, unknown nonprofit with unknown leadership is likely
               11       hold anti-gun views and be hostile to the Second Amendment, likely to force gunowners to undergo
               12       “reeducation” (though Plaintiffs concede use of the nonprofit’s services under the Ordinance is
               13       entirely voluntary), and likely to expend monies from the annual Fee in some objectionable way.
               14       Mot. at 15-18. This is not a serious argument. Nevertheless, Plaintiffs argue the Ordinance violates
               15       the First Amendment in two ways: by forcing City’s resident gunowners (1) to “subsidiz[e] speech”
               16       with which some unspecified percentage of them will not agree, and (2) to associate with the
               17       nonprofit against their will. Mot. at 15-17. Both arguments fail. See Winter, 555 U.S. at 22
               18       (preliminary injunctions “may only be awarded upon a clear showing that the plaintiff is entitled to
               19       such relief” through “substantial proof”).
               20              First, Plaintiffs’ small handful of three authorities, imported from very different contexts, do
               21       not support their First Amendment claim that the Ordinance’s Fee requirement is compelled speech
               22       in violation of the First Amendment. See Mot. at 16. First, Janus concerns whether non-union public
               23       employees can be compelled to pay union dues to fund the unions’ political lobbying, advertising,
               24       litigation, and social and recreational activities, and other activities. Janus v. AFSCME, Council 31,
               25       138 S. Ct. 2448, 2459-61, 2480 (2018). Janus’s holding and reasoning are deeply rooted in the union
               26       context. See, e.g., id. at 2486 (“State and public sector unions may [not] extract agency fees from
               27       nonconsenting employees . . . [u]less employees clearly and affirmatively consent[.]”). Second,
               28       another decision from the same line of union cases, Knox, concerns whether public-sector unions
       ♼
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                       14
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
                         Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 23 of 34



                    1   can collect fees from objecting employees “for a broad range of political expenses, including
                    2   television and radio advertising, direct mail, voter education, and get out the vote activites.” See
                    3   Knox v. SEIU, 567 U.S. 298 (2012). Third, Plaintiffs cite a case against the State Bar concerning the
                    4   use of compulsory bar membership dues to engage in specific political activities. See Keller v. State
                    5   Bar of California, 496 U.S. 1 (1990).
                    6          Tellingly, in discussing these authorities, Plaintiffs never explain why language and
                    7   reasoning from those cases should be extracted from their highly specific public union and State Bar
                    8   contexts and applied to an entirely different scenario, where a legislature seeks funds for reasonable
                    9   measures to carry out its police powers to protect public health, safety, and welfare for its residents.
               10       Nor do Plaintiffs cite any cases in which a court has applied these cases in that context, much less
               11       relied on them (as Plaintiffs do) to strike down a gun regulation under the First Amendment.
               12       Plaintiffs’ argument should be rejected for these reasons alone.
               13              The argument also fails for the independent reason that the activity at issue in those cases
               14       found to be unconstitutional—i.e., the expenditure of money to advance political viewpoints with
               15       which the plaintiffs disagreed—is expressly prohibited by the Ordinance here. § 10.32.220(B)
               16       (providing that no portion of the Fee may be used “for litigation, political activity, or lobbying
               17       activities”). This fact should exempt these cases from the Court’s analysis. See Janus, 138 S.Ct at
               18       2461 (nonmember dues used for lobbying and litigation); Knox, 567 U.S. at 304 (fees used for
               19       expressly political activity in support of ballot propositions); Keller, 496 U.S. at 15 (compulsory
               20       State Bar dues to “lobby[] for or against state legislation,” oppose federal legislation, and endorse
               21       political measures). The core concern of the First Amendment compelled speech doctrine—i.e.,
               22       prohibiting compelled speech and association in matters of political lobbying, advocacy, or
               23       litigation—simply does not exist here. See also Keller, 496 U.S. at 12-13 (1990) (“If every citizen
               24       were to have a right to insist that no one paid by public funds express a view with which he disagreed,
               25       debate over issues of great concern to the public would be limited to those in the private sector, and
               26       the role of government as we know it radically transformed.”).
               27              Moreover, Plaintiffs’ claim rests entirely on speculation and is unsupported by evidence.
               28       See, e.g., Mot. at 15 (asserting Fee will be used for “the speech of other with whom [Plaintiffs] may
       ♼
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                        15
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
                         Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 24 of 34



                    1   disagree”); id. at 7 (complaining Ordinance contains “scant information” about the designated
                    2   nonprofit). Plaintiffs opine that the nonprofit (despite not yet being designated) will “inevitably hold
                    3   the City’s anti-gun biases” and be “hostile to gun ownership.” Mot. at 5, 8, 17. As a preliminary
                    4   matter, the City disputes holding an “anti-gun bias,” despite this criticism. But plainly, what
                    5   Plaintiffs’ fear might happen in the future does not supply the “substantial proof” required to obtain a
                    6   preliminary injunction. See Winter, 555 U.S. at 22; Mazurek, 520 U.S. at 972. Additionally, even
                    7   Plaintiffs’ own evidence undermines their speculative predictions. See e.g., Pls.’ RJN, Ex. C at 4
                    8   (San Jose Mayor Liccardo stating that “[w]e’ve invited . . .gun owners, to help identify how we
                    9   allocate the money from these fees in ways that will reduce gun violence”); Ex. D at 4 (stating that
               10       National Rifle Association San Jose Chapter President Dave Truslow” “stepped up to advise or
               11       participate in the creation of [the] nonprofit organization.”); Ex. J at 3 (“We’ve invited and at least
               12       one member of a gun group has actually joined this effort to create this nonprofit, because we want
               13       organizations representing gun owners to be at the table, helping us to understand, how do we best
               14       communicate, how do we best invest?”).
               15              Ultimately, Plaintiffs have not met their burden of showing how the Ordinance will compel
               16       speech with which they do not agree. Plaintiffs’ characterization of Mayor Liccardo’s offhand
               17       “yeah” when a reporter asked “So it’s almost like joining a club” is taken out of context and clearly
               18       insufficient to give rise to a Constitutional First Amendment claim. Mot. at 17; Pls.’ RJN, Ex. J at
               19       3; see also id. at 1 (published version of interview with Liccardo stating it was “condensed and edited
               20       for clarity”). Plaintiffs’ arguments based on “forced membership” is meritless.
               21              In short, Plaintiffs’ evidence comes nowhere near showing they are likely to succeed on the
               22       merits on their First Amendment claim—especially in view of federalism concern that federal courts
               23       should not invalidate state laws on the grounds that they violate the right of association based only
               24       on “factual assumptions” and “[i]n the absence of evidence.” Wash. State Grange, 552 U.S. at 457;
               25       accord Cal. Democratic Party v. Jones, 530 U.S. 567, 600 (2000) (Stevens, J., dissenting) (“[A]n
               26       empirically debatable assumption … is too thin a reed to support a credible First Amendment
               27       distinction” with respect to burdens on association). And even if Plaintiffs had somehow produced
               28       evidence regarding their speculative fears, their First Amendment claims are not ripe because the
       ♼
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                        16
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
                         Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 25 of 34



                    1   nonprofit does not yet exist and the City Manager has not promulgated necessary regulations
                    2   regarding the Fee. See Vieux, 906 F.3d at 1344; Chandler, 598 F.3d at 1122-23; Scholl v. Mnuchin,
                    3   489 F.Supp.3d 1008, 1024-27 (N.D. Cal. 2020).
                    4             In sum, Plaintiffs’ First Amendment claims are unlikely to succeed on the merits.
                    5                        c. The Ordinance is Not Preempted Under State Law
                    6             Plaintiffs argue that the Ordinance is preempted by state law under Article XI, Section 7 of
                    7   the California Constitution. Mot. at 18. Under the provision of the California Constitution, a local
                    8   ordinance that is “in conflict with the general laws” is preempted and void, but a “city may make
                    9   and enforce … all local, … sanitary, and other ordinances … not in conflict with general laws” under
               10       its police power. Cal. Const., Art. XI, § 7. “As a general rule, ordinances will be upheld against
               11       constitutional challenge if they are reasonably related to promoting the health, safety, comfort and
               12       welfare of the public, and if the means adopted to accomplish that promotion are reasonably
               13       appropriate to the purpose.” Sunset Amusement Co. v. Bd. of Police Comm’rs, 7 Cal.3d 64, 72
               14       (1972).
               15                 Additionally, under Article XI, Section 5(a) of the California Constitution, charter cities (like
               16       San Jose) have the right to adopt and enforce ordinances that conflict with general state laws,
               17       provided the subject of the ordinance is a “municipal affair” rather than one of “statewide concern.”
               18       As to matters of “statewide concern,” charter cities remain subject to and controlled by applicable
               19       general state laws “regardless of the provisions of their charters, if it is the intent and purpose of
               20       such general laws to occupy the field to the exclusion of municipal regulation.” Bishop v. City of
               21       San Jose, 1 Cal.3d 56, 60-61 (1969). A law is preempted if it “duplicates, contradicts, or enters an
               22       area fully occupied by general law, either expressly or by legislative implication.” Sherwin-Williams
               23       Co. v. City of Los Angeles, 4 Cal.4th 893, 897-98 (1993).
               24                 Here, Plaintiffs do not argue that the Ordinance duplicates or contradicts state law. Instead,
               25       they argue that “insofar as [the Ordinance] intends to impose gun storage and safety requirements,
               26       [it] plainly encroaches upon a field already occupied by state law, and thus violates Article XI,
               27       section 7.” Mot. at 18-19. Plaintiffs misstate the test for preemption. They also ignore that gun
               28       regulation as a whole has not been fully occupied by general law. Great Western Shows, Inc. v.
       ♼
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                           17
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
                         Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 26 of 34



                    1   County of Los Angeles, 27 Cal.4th 853, 861 (Cal. 2002). Instead, the State Legislature has expressly
                    2   preempted only discrete areas of gun regulation, such as permitting, licensing, and registration of
                    3   firearms. See Cal. Pen. Code § 25605 (permitting and licensing); Cal. Gov. Code § 53071
                    4   (registration and licensing). The State has neither expressly nor impliedly preempted the entire field
                    5   of gun regulation, or the discrete areas regulated by the Ordinance here (e.g., firearm liability
                    6   insurance, the provision of voluntary programming and services to gunowner households to improve
                    7   public health and safety). This impedes Plaintiffs’ preemption argument.
                    8          Additionally, a local ordinance can only duplicate or contradict state law if it addresses the
                    9   exact same subject matter of the state law. In Great Western Shows, for example, the California
               10       Supreme Court explained that, in a prior case, it had “distinguished between licensing, which
               11       signifies permission or authorization, and registration, which entails recording ‘formally and
               12       exactly’ and therefore declined to find express conflict between the statute and the ordinance.” 27
               13       Cal.4th at 860-61 (2002) (citing Galvan v. Superior Court, 70 Cal.2d 851 (1969)). Here, the
               14       Ordinance has nothing to do with licensing. It does neither prevents nor expressly authorizes City
               15       residents to obtain gun licenses, prevents a law enforcement official from issuing a license, or creates
               16       new or different requirements for obtaining a license. Indeed, it expressly exempts from its
               17       requirements any gunowner with a concealed weapon license under State law, indicating the City’s
               18       intent not to encroach into State territory. § 10.32.225(B). Permitting, licensing, and registration
               19       concern completely different subjects than the insurance mandate contained within the Ordinance.
               20       See Great Western Shows, 27 Cal.4th at 860-61; Galvan, 70 Cal.2d 85.
               21              Plaintiffs’ other claim, that the Ordinance is preempted because “the Legislature intended to
               22       occupy the field of residential handgun possession to the exclusion of local government entities” is
               23       similarly unavailing. Mot. at 18 (quoting Fiscal v. City and County of San Francisco, 158
               24       Cal.App.4th 895, 909 (2008). Fiscal’s reach is not broad as Plaintiffs contend. Fiscal itself
               25       recognized that the Legislature “has not impliedly preempted all areas of gun regulation.” Fiscal,
               26       158 Cal.App.4th at 908 (emphasis in original). But the ordinance at issue in Fiscal was a total ban
               27       on handgun possession, which necessarily conflicted with state regulations, and thus was held
               28
       ♼
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                        18
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
                         Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 27 of 34



                    1   preempted. Id. at 915, 919 (“The City … has enacted a total ban on an activity state law allows …
                    2   justify[ing] greater scrutiny.”).
                    3           By contrast, the Ordinance here is not a total handgun ban, or anything like it. Nor does it
                    4   conflict with state permit, licensing, or registration requirements. Cf. Cal. Penal Code § 25605; Cal.
                    5   Gov. Code § 53071. Numerous California state courts have upheld gun regulations, rejecting
                    6   preemption arguments identical to those Plaintiffs advance See e.g., Calguns Foundation, Inc. v.
                    7   County of San Mateo, 218 Cal.App.4th 661 (2013) (upholding county ban on gun possession in
                    8   County parks); Cal. Rifle & Pistol Assn. v. City of West Hollywood, 66 Cal.App.4th 1302 (1998)
                    9   (ordinance banning sale of “Saturday Night Special” handgun); Olsen v McGillicuddy, 15 Cal. App.
               10       3d 897 (1971) (upholding ordinance prohibiting gun possession in cars); Great Western Shows, 27
               11       Cal. 4th 853, 863 (2002) (upholding regulation of gun sales on municipal land). Plaintiffs’ state
               12       preemption argument is without merit and should be rejected.
               13                   d. Plaintiffs are Unlikely to Succeed in Proving the Ordinance is an Unlawful Tax
               14               Plaintiffs argue that the insurance mandate and Fee requirement are taxes that may not be
               15       imposed without voter approval under California Constitution Article XIII C, as amended by
               16       Proposition 26. Mot. at 19. A tax is defined to include any levy, charge, or exaction of any kind
               17       imposed by a local government. Cal. Const., Art. XIII C, § 1 (“Proposition 26”). Proposition 26 sets
               18       forth seven exemptions to this rule. Id. However, neither the insurance mandate nor the Fee
               19       constitute a tax because (aside from modest administrative costs) none of the proceeds from those
               20       requirements will pass into government hands. See Schmeer v. County of Los Angeles, 213
               21       Cal.App.4th 1310 (2013).
               22               In Schmeer, Los Angeles County enacted an ordinance that prohibited retail stores in
               23       unincorporated areas of the county from providing disposable plastic carryout bags to customers.
               24       213 Cal.App.4th at 1314. The stores could provide recyclable paper carryout bags but were required
               25       to charge customers ten cents per bag. Id. Critically, the proceeds of the paper bag sales were retained
               26       by the store—not the County—to be used for prescribed purposes, including to cover the actual costs
               27       of the paper bags. Id. The Schmeer plaintiffs sued on the same theory advanced by Plaintiffs here:
               28       that the bag charge is a tax as defined by Proposition 26. The court ruled that because the proceeds
       ♼
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                        19
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
                         Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 28 of 34



                    1   of the bag charge are retained by the retail store and not remitted to the county, the voter approval
                    2   requirements of Article XIII C, § 2 [were] therefore inapplicable.” Id. at 1326, 1329. Applied here,
                    3   Schmeer makes clear that Plaintiffs’ failure to explain how money that never passes to the City could
                    4   constitute a tax is fatal to their Proposition 26 claim. Under the Ordinance, all monies from payment
                    5   of the annual Fee will go directly to the nonprofit organization, insurance premiums will be paid to
                    6   insurance carriers, and insurance claims will be paid out to victims of accidental gun injuries. See
                    7   §§ 10.32.215, 10.32.220. The City will receive none of the monies at issue.
                    8          Schmeer also defeats the Plaintiffs’ argument that the City must prove that the amount of the
                    9   fees is no more than necessary to cover the reasonable costs of the governmental activity and that
               10       the manner in which those costs are allocated to a payor bear a reasonable relationship to the payor’s
               11       burdens on, or benefits from, the governmental activity. Mot. at 19. But even if it did not, this
               12       argument would fail for the separate and independent reason that Fee money collected from
               13       gunowners would be fairly categorized under the exception from Proposition 26 for fees “imposed
               14       for a specific benefit conferred or privilege granted directly to the payor that is not provided to those
               15       not charged.” Cal. Const., Art. XIII C, § 1 (“specific benefit exemption”); see also S. Cal. Edison
               16       Co. v. Pub. Util. Comm’n, 227 Cal.App.4th 172, 200 (2014) (finding a public utility fee was
               17       “designed to benefit … ratepayers and “[t]he possibility that some EPIC research may incidentally
               18       provide a social benefit to the public at large does not transform EPIC into a tax where a discrete
               19       group, namely the utility corporations’ ratepayers, is specifically benefitted.”). Finally, Plaintiffs’
               20       arguments are unripe and premature because the amount of the Fee has not yet been determined.
               21              In sum, neither the insurance mandate nor the Fee is a tax under Proposition 26, and Plaintiffs
               22       fail to show they are likely to succeed on the merits of this claim.
               23                          e. The Ordinance Does Not Violate the San Jose City Charter
               24              Plaintiffs argue that the Ordinance violates the San Jose City Charter “by prohibiting the San
               25       Jose City Council from using its budgetary and appropriating powers to direct how” the designated
               26       nonprofit expends the Fee, and by “diverting a City fee to a nonprofit rather than the City’s General
               27       Fund or a special fund.” Mot. at 20-21. Both arguments fail.
               28
       ♼
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                         20
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
                         Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 29 of 34



                    1          When interpreting a California statute, Federal courts apply California rules of statutory
                    2   construction. Lares v. West Bank One (In re Lares) 188 F.3d 1166, 1168 (9th Cir. 1999). The same
                    3   rules of construction apply to local ordinances and city charters. See 1300 N. Curson Investors, LLC
                    4   v. Drumea, 225 Cal.App.4th 325, 332 (2014); Laurent v. City and County of San Francisco, 99
                    5   Cal.App.2d 707, 708 (1950). The language of the Charter and the Ordinance must be read in the
                    6   context of the respective statutes as a whole. See Isaakhani v. Shadow Glen Homeowners Assn., Inc.,
                    7   63 Cal.App.5th 917, 931-932 (2021); City of San Jose v. Lynch, 4 Cal.2d 760, 766 (1935). And when
                    8   interpreting a statute, the court must “avoid a construction that would lead to impractical or
                    9   unworkable results.” Los Angeles Unified Sch. Dist. v. Garcia, 58 Cal.4th 175, 194 (2013). But read
               10       in context, the isolated the provisions of the Ordinance and the San Jose City Charter upon which
               11       Plaintiffs rely do not support their conclusion.
               12                          f. The Charter Does Not Require Placing the Fee into the General Fund
               13              Plaintiffs ignore the first sentence of San Jose City Charter section 1211, which states that
               14       “[a]ll monies paid into the San Jose City Treasury shall be credited to and kept in separate funds in
               15       accordance with provisions of this Charter or ordinance.” Id. When read together with the sentences
               16       that follow, it is clear the General Fund applies to “monies paid into the City Treasury.” Id. But the
               17       Ordinance requires that the Fee be paid to the designated nonprofit, not “paid into the City Treasury.”
               18       § 10.32.215.
               19                           ii. The Fee Is Not Subject to the Charter’s Budgetary Procedures
               20              The premise of Plaintiffs’ argument, that the Ordinance “violates the [Charter’s] reservation
               21       of budgeting and appropriation power to the City Council,” is incorrect. Sections 1204, 1206, and
               22       1207 of the Charter do not apply to the Fee. All three sections concern the City’s budgetary process,
               23       which expressly applies to “City departments, offices, and agencies” – not the designated nonprofit
               24       or the Fee it receives. San Jose City Charter §§ 1204, 1206, 1207. The nonprofit is not a City
               25       department, office, or agency. Indeed, “[n]o City official or employee shall sit on the board of
               26       directors of the Designated Nonprofit Organization” (§ 10.32.305(B)), and the City “shall not
               27       specifically direct how the monies from the [Fee] are expended” (§ 10.32.220(C)).
               28
       ♼
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                       21
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
                         Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 30 of 34



                    1          The Ordinance does not provide for or contemplate using the Fee for the operation of City
                    2   departments. § 10.32.220(C). Rather, the Ordinance requires the designated nonprofit to “spend
                    3   every dollar generated from the [Fee]” on programs and initiatives within a particular category –
                    4   none of which include the operation of offices, departments, or agencies of the City. Id.; c.f. San
                    5   Jose City Charter § 1207. Therefore, the Fee is not subject to the City’s budgetary process and
                    6   Plaintiffs’ argument fails on its premise.
                    7                         iii. The City Council Properly Delegated Regulatory Authority to the
                                                   City Manager
                    8

                    9          The City Manager is the Chief Administrative Officer and head of the administrative branch
               10       of San Jose’s council-manager government. San Jose City Charter §§ 300, 700. The City Manager
               11       is thus “responsible for the faithful execution of all laws, provisions of [the] Charter, and acts of the
               12       Council which are subject to enforcement by the City Manager or by officers who are under the City
               13       Manager’s direction and supervision.” Id. § 701(d).
               14              The Council may lawfully delegate administrative or ministerial functions to the City
               15       Manager. Sacramento Chamber of Commerce v. Stephens, 212 Cal. 607, 610 (1931). It is sufficient
               16       that the Council “declare a policy, fix a primary standard, and authorize executive or administrative
               17       officers to prescribe subsidiary rules and regulations that implement the policy and standard and to
               18       determine the application of the policy or standard to the facts of particular cases.” Birkenfeld v. City
               19       of Berkeley, 17 Cal.3d 129, 167 (Cal. 1976) (citation omitted). That is precisely the case here.
               20              The Ordinance directs the City Manager to “implement the requirements and fulfill the
               21       policies of [the Ordinance] relating to the reduction of gun harm,” including by designating the
               22       nonprofit receiving the Fee and setting forth “processes and procedures relating to the payment of
               23       the fee, and any additional guidelines or auditing of the use of the monies from the fee.”
               24       10.32.235.A, et seq. The nonprofit clearly has more than a “vague direction” from the City, Mot. at
               25       20. Simply because the City “shall not specifically direct how” the designated nonprofit will expend
               26       the fee does not “violate the Charter’s delegation of executive functions to the administrative branch
               27       of the City Government.” Mot. at 20. San Jose maintains authority over how the designated nonprofit
               28       expends the fee through the administrative oversight of the City Manager. But “[n]either Council
       ♼
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                         22
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
                         Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 31 of 34



                    1   nor any of its members nor the Mayor shall interfere with the execution by the City Manager of
                    2   [their] powers and duties.” San Jose City Charter § 411. Therefore, authority over expenditure of the
                    3   Fee is properly vested and Plaintiffs claim the City is violating its own charter are false.
                    4
                                       2.      Plaintiffs Have Not Established That They Will Suffer Irreparable
                                               Harm
                    5

                    6          Plaintiffs fail to establish that they are “likely to suffer irreparable harm in the absence of
                    7   preliminary relief.” Winter, 555 U.S. at 20 (clarifying that plaintiffs must show something more than
                    8   just a possibility). A party seeking injunctive relief must provide evidence of likely irreparable harm
                    9   and cannot rely on “unsupported conclusory statements regarding harm [they] might suffer.” Herb
               10       Reed Enters., LLC v. Fla. Entm’t Mgmt., 736 F.3d 1239, 1249 (9th Cir. 2013). As set forth above,
               11       Plaintiffs’ evidence does not support, and even contradicts, their conclusions.
               12              Putting aside the fact the Ordinance is not even effective yet, Plaintiffs fail to substantiate
               13       any harm, other than risk to the “fundamental rights secured by the First, Second, and Fourteenth
               14       Amendment[s]” and to say that “[i]rreparable harm is presumed.” Mot. at 22.
               15              Citing a district court case that pre-dates Winter, Plaintiffs argue that “the requirement that a
               16       party who is seeking a preliminary injunction show ‘irreparable injury’ is deemed fully satisfied if
               17       the party shows that, without the injunction, First Amendment freedoms would be lost, even for a
               18       short period.” Mot. at 21 (citing College Republicans at San Francisco State Univ. v. Reed, 523
               19       F.Supp.2d 1005, 1011). Post-Winter cases from the Ninth Circuit contradict Reed. “While a First
               20       Amendment claim ‘certainly raises the specter’ of irreparable harm and public interest
               21       considerations, proving the likelihood of such a claim is not enough to satisfy Winter.” DISH
               22       Network Corp. v. F.C.C., 653 F.3d 771, 776 (9th Cir. 2011).
               23              Here, Plaintiffs fail this test for all the same reasons their claim fails on the merits. Plaintiffs
               24       will not suffer harm if the Ordinance is enacted, because the Ordinance does not impose an unlawful
               25       burden on their Constitutional rights. Plaintiffs certainly cannot show that they will suffer any
               26       imminent and certain injury sufficient to grant them “extraordinary relief” by way of this motion.
               27       Winter, 555 U.S. at 22.
               28
       ♼
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                           23
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
                         Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 32 of 34



                    1            For each of reasons set forth herein, the Ordinance is lawful, and does not threaten Plaintiffs’
                    2   constitutional rights. While Plaintiffs offhandedly claim the Fourteenth Amendment is also
                    3   implicated here, the Supreme Court has emphasized that “incorporation [of the Second Amendment
                    4   into the Due Process Clause of the Fourteenth Amendment] does not imperil every law regulating
                    5   firearms,” and agreed that “reasonable firearms regulation will continue under the Second
                    6   Amendment.” McDonald, 561 U.S. at 785-86. Devoid of any analysis, Plaintiffs’ claim on this point
                    7   fails.
                    8            Without proffering any evidence that Plaintiffs or anyone is harmed by the not-yet-effective
                    9   Ordinance, at most Plaintiffs advance an abstract “possibility of irreparable injuries.” Nken v.
               10       Holder, 556 U.S. 418, 435 (2009). As the Supreme Court has emphasized, the “possibility standard
               11       is too lenient” a basis upon which to issue the drastic remedy of a preliminary injunction. Winter,
               12       555 U.S. at 22. The mere theoretical possibility of future harm does not suffice.
               13                       3.      The Balance of Equities and Public Interest Favor Defendants
               14                “Where the government is a party to a case in which a preliminary injunction is sought, the
               15       balance of the equities and public interest factors merge.” Santa Cruz Lesbian and Gay Cmty. Ctr.
               16       v. Trump, 508 F.Supp.3d 521, 546 (N.D. Cal. 2020) (citing Roman v. Wolf, 977 F.3d 935, 940-41
               17       (9th Cir. 2020)); Nken v. Holder, 556 U.S. 418, 435 (2009). “The plaintiffs bear the initial burden of
               18       showing that the injunction is in the public interest.” Stormans, Inc. v. Selecky, 586 F.3d 1109, 1139
               19       (9th Cir. 2009). Plaintiffs have not carried their burden.
               20                Plaintiffs argue that “tens of thousands of San Jose citizens will risk seizure of their guns and
               21       the payment of fines” and “Plaintiffs’ core constitutional rights . . . will remain in jeopardy.” Mot.
               22       at 22-23. This is a gross mischaracterization of the Ordinance’s terms, which do not provide for
               23       seizure or impoundment to the extent not recognized now or in the future under state law. See
               24       Ordinance §§ 10.32.240; 10.32.245. On balance, the City’s substantial interest in mitigating harm
               25       inflicted by gun violence and shift the financial burden of gun education and victim services to gun
               26       owners instead of all taxpayers, outweighs the premature interests raised by Plaintiffs. § 10.32.220.
               27       Plaintiffs have not, and cannot, show a significant adverse impact on their fundamental rights.
               28
       ♼
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                          24
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
                         Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 33 of 34



                    1             C.     The Court Should Deny Plaintiffs Request for Judicial Notice and Should Not
                                         Dispense with the Bond Requirement
                    2
                                  Plaintiffs’ Request for Judicial Notice (“RJN”) requests the Court to accept facts that are
                    3
                        “subject to reasonable dispute,” and cannot “be accurately and readily determined from sources
                    4
                        whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b)(1)-(2). Further, Plaintiffs
                    5
                        seek to have the Court take judicial notice of the truth of facts or statements within these documents.
                    6
                        “Just because the document itself is susceptible to judicial notice does not mean that every assertion
                    7
                        of fact within that document is judicially noticeable for its truth.” Khoja v. Orexigen Therapeutics,
                    8
                        Inc., 899 F.3d 988, 998 (9th Cir. 2018), cert denied sub. nom. Hagan v. Khoja, 139 S. Ct. 2615
                    9
                        (2019).
               10
                                  Plaintiffs inappropriately seek judicial notice of Exhibits C (January 19, 2022 Los Angeles
               11
                        Times article), F (January 25, 2022 San Francisco Chronicle article), and G (January 25, 2022 Los
               12
                        Angeles Times article) Plaintiffs do not seek to introduce the exhibits to establish their mere existence
               13
                        but rather as an improper “vehicle for legal argument.” Garcia v. California Supreme Court, 2014
               14
                        WL 309000, at *1 (N.D. Cal. Jan. 21, 2014). Because the Court should not weigh or interpret
               15
                        information within judicially noticed documents in Plaintiffs’ favor or for their truth, the Court
               16
                        should not take judicial notice of these exhibits. See Khoja, 899 F.3d at 999.
               17
                                  Plaintiffs also seek to dispose of the bond requirement pursuant to Rule 65(c) of the Federal
               18
                        Rules of Civil Procedure. Mot at 23. This requirement, among other purposes, seeks to discourage
               19
                        the moving party from seeking preliminary injunctive relief to which it is not entitled. Nintendo of
               20
                        Am., Inc. v. Lewis Galoob Toys, Inc., 16 F.3d 1032, 1037 (9th Cir. 1994). The Court has discretion
               21
                        as to the requirement of the bond, and the amount of security required. Diaz v. Brewer, 656 F.3d
               22
                        1008, 1015 (9th. Cir. 2011). The City asks that the Court use its discretion to require Plaintiffs to
               23
                        post a reasonable bond.
               24
                        V.        CONCLUSION
               25
                                  For the foregoing reasons, the City respectfully requests that the Court deny Plaintiffs’
               26
                        Motion. In the alternative, in light of the severability clause present in the Ordinance, the City
               27
                        respectfully asks that the Court preliminarily enjoin only such portions of the Ordinance deemed
               28
       ♼                unlawful. § 3.
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;                                         25
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
                        Case 5:22-cv-00501-BLF Document 28 Filed 03/22/22 Page 34 of 34



                    1   Dated: March 22, 2022               COTCHETT, PITRE & McCARTHY, LLP
                    2
                                                            By: /s/ Tamarah P. Prevost
                    3                                          JOSEPH W. COTCHETT
                    4                                          TAMARAH P. PREVOST
                                                               MELISSA MONTENEGRO
                    5                                          ANDREW F. KIRTLEY

                    6                                          Attorneys for Defendants
                    7

                    8

                    9

               10

               11

               12

               13

               14

               15

               16

               17

               18

               19

               20

               21

               22

               23

               24

               25

               26

               27

               28
       ♼
 LAW OFFICES
COTCHETT, PITRE &        OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;         26
 MCCARTHY, LLP
                         CASE NO. 5:22-CV-00501-BLF
